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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division


 CHRISTIE EASTER,

                Petitioner,

        v.                                           CRIMINAL ACTION NO. 4:16-cr-49(7)

 UNITED STATES OF AMERICA,

                Respondent.


                           MEMORANDUM OPINION AND ORDER

        Before the Court is Christie Easter’s (“Petitioner”) Emergency Motion for Compassionate

 Release Pursuant to 18 U.S.C. § 3582(c)(1)(A). ECF No. 341. The Government opposed the

 motion, and Petitioner filed a reply. ECF Nos. 352–353. Having been fully briefed, this matter is

 now ripe for judicial determination.

                              I. FACTUAL AND PROCEDURAL HISTORY

        From 2012 until 2015, Petitioner and her co-conspirators were involved in a large-scale

 fraud scheme that targeted various individuals and financial institutions throughout the United

 States. ECF No. 97. As part of the fraudulent scheme, Petitioner and her co-conspirators obtained

 funds through fraudulent means by recruiting individuals to use their own bank accounts to

 negotiate counterfeit financial instruments such as counterfeit cashier’s checks and counterfeit

 postal money orders. Id. at 2. On August 9, 2016, Petitioner and her co-conspirators were named

 in a 43-count superseding indictment. ECF No. 9.

        On March 6, 2017, Petitioner pleaded guilty to Conspiracy to Commit Mail, Bank, and

 Wire Fraud, in violation of 18 U.S.C. § 1349, and Aggravated Identify Theft, in violation of 18



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 U.S.C. § 1028A. ECF Nos. 95–97. While awaiting sentencing, Petitioner violated the conditions

 of her pretrial release by testing positive for methamphetamine on multiple occasions and

 shoplifting. ECF Nos. 100, 130–131; see also ECF No. 351 at 1. On June 26, 2017, this Court

 sentenced Petitioner to a total of 130 months’ imprisonment and five years of supervised release.

 ECF Nos. 160, 163. This Court also ordered Petitioner to pay $1,294,034.52 in restitution. ECF

 Nos. 161–163.

        Petitioner, age 50, has been incarcerated since or about June 7, 2017. She is currently

 serving her sentence at FCI Hazelton located in Bruceton Mills, West Virginia. ECF No. 341.

 While in prison, Petitioner has incurred multiple disciplinary infractions which includes disruptive

 conduct, two incidents of possessing a non-hazardous tool, fighting, and exchanging money for

 contraband. See ECF No. 351. She has completed several educational courses and is currently

 enrolled in a 500-hour Residential Drug Abuse Program. ECF No. 341 at 3–4; ECF No. 351. She

 has also maintained several job assignments. ECF No. 351. Petitioner’s projected date of release

 is November 28, 2026. 1

        On May 11, 2020, Petitioner made a written request for compassionate release to the

 Warden at FCI Hazelton. See ECF No. 341 at 4–5. In her request, Petitioner noted that her diabetes

 put her at risk for serious illness if she contracts COVID-19. Id.; ECF No. 352-2. On May 18,

 2020, the BOP denied Petitioner’s request. See ECF No. 352 at 7.

        On May 18, 2020, Petitioner filed a motion for compassionate release based on the current

 COVID-19 pandemic. 2 ECF No. 341. In support of her motion, Petitioner expressed concerns that

 her underlying health conditions with Type II Diabetes, high blood pressure, high cholesterol, and


        1
         https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results
        2
         Petitioner filed a pro se letter motion to modify her sentence on April 24, 2020. ECF No. 337.
        This Court appointed a Federal Public Defender to represent Petitioner on May 1, 2020. ECF No.
        338.

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 hypothyroidism put her at grave risk for severe illness if she contracts COVID-19. Id. Petitioner

 also indicates that she suffered a major heart attack in 2008 when she was 38 years old. 3 Id.

 Petitioner requests that this Court grant her compassionate release and allow her to serve the rest

 of her sentence on home confinement. Id. In the alternative, Petitioner requests that this Court issue

 a non-binding recommendation that the BOP transfer her to home confinement for the duration of

 her sentence. Id.

        The Government opposed Petitioner’s motion on June 2, 2020. ECF No. 352. On June 8,

 2020, Petitioner filed a reply. ECF No. 353. Petitioner’s medical records are filed under seal. ECF

 Nos. 344, 346.

                                      II. LEGAL STANDARD

 A. The Exhaustion Requirement

        A petitioner may bring a motion to modify his or her sentence “after the defendant has fully

 exhausted all administrative rights to appeal a failure of the Bureau of Prisons (“BOP”) to bring a

 motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

 warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Accordingly,

 a petitioner seeking compassionate release is generally required to exhaust his or her administrative

 remedies prior to bringing a motion before the district court. Id. However, the exhaustion

 requirement may be waived under the following circumstances: (1) the relief sought would be

 futile upon exhaustion; (2) exhaustion via the agency review process would result in inadequate

 relief; or (3) pursuit of agency review would subject the petitioner to undue prejudice. United

 States v. Zukerman, 2020 WL 1659880, at *3 (S.D.N.Y. Apr. 3, 2020) citing Washington v. Barr,



        3
          The Government questions whether Petitioner had a heart attack or suffers from high blood
        pressure because these conditions are neither indicated in the PSR nor in BOP documents. ECF No.
        352 at 6–7. BOP records confirm that Petitioner suffers from Type II diabetes and hyperthyroidism.

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 925 F.3d 109, 118 (2d Cir. 2019). The COVID-19 pandemic, which could result in catastrophic

 health consequences for petitioners vulnerable to infection, implicates all three exceptions

 justifying the waiver of the exhaustion requirement. Miller v. United States, 2020 WL 1814084, at

 *2 (E.D. Mich. Apr. 9, 2020); United States v. Zukerman, 2020 WL 1659880, at *3 (S.D.N.Y.

 April 3, 2020); United States v. Perez, 2020 WL 1456422, at *3–4 (S.D.N.Y. Apr. 1, 2020); United

 States v. Gonzalez, 2020 WL 1536155, at *2 (E.D. Wash. Mar. 31, 2020).

 B. The Compassionate Release Standard

         As amended by the FIRST STEP Act, a court may modify a term of imprisonment on the

 motion of the petitioner after considering the factors set forth in 18 U.S.C. § 3553(a) if

 “extraordinary and compelling reasons warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A)(i).

 “Extraordinary and compelling reasons” was previously defined by the United States Sentencing

 Commission (“Sentencing Commission”) in U.S.S.G. § 1B1.13, Application Note 1. Before the

 passage of the FIRST STEP Act, the Sentencing Commission provided that a sentence may be

 modified due to the petitioner’s medical condition, age, or family circumstances and further

 defined the limits under which a sentence reduction may be given under those justifications.

 U.S.S.G. § 1B1.13, n. 1 (A)–(C). The Sentencing Commission also provided a “catch-all

 provision” that allowed for a sentence modification upon a showing of “extraordinary and

 compelling reason other than, or in combination with, the reasons described in subdivisions (A)

 through (C).” Id. at n. 1 (D). Use of the “catch-all provision” prior to the FIRST STEP Act was

 severely restricted because it required approval from the BOP before an individual could petition

 the district court for relief. Id.

         However, U.S.S.G. § 1B1.13 is now outdated following the passage of the FIRST STEP

 Act, which allows individuals to petition the district court directly without clearance from the BOP.



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 As such, U.S.S.G. § 1B1.13 is merely advisory and does not bind the Court’s application of §

 3582(c)(1)(A). McCoy v. United States, 2020 WL 2738225, at *4 (E.D. Va. May 26, 2020); see

 also United States v. Lisi, 2020 WL 881994, at *3 (S.D.N.Y. Feb. 24, 2020) (“[T]he Court may

 independently evaluate whether [petitioner] has raised an extraordinary and compelling reason for

 compassionate release ... [but § 1B1.13’s policy statement] remain[s] as helpful guidance to

 courts....”); United States v. Fox, 2019 WL 3046086, at *3 (D. Me. July 11, 2019) (“[T]he

 Commission’s existing policy statement provides helpful guidance on the factors that support

 compassionate release, although it is not ultimately conclusive”). A petitioner’s rehabilitation

 standing alone does not provide sufficient grounds to warrant a sentence modification. 28 U.S.C.

 § 994(t). In sum, the Court may consider a combination of factors, including but not limited to

 those listed in U.S.S.G. § 1B1.13, in evaluating a petitioner’s request for a sentence modification

 under 18 U.S.C. § 3582(c)(1)(A)(i).

                                         III. DISCUSSION

 A. The Exhaustion Requirement

        The Court finds that Petitioner has exhausted her administrative remedies prior to bringing

 her motion. On May 11, 2020, Petitioner made a written request for compassionate release to the

 Warden at FCI Hazelton noting that she is diabetic which puts her at risk for serious illness if she

 contracts COVID-19. See ECF No. 341 at 4–5; ECF No. 352-2. The BOP denied Petitioner’s

 request on May 18, 2020. See ECF No. 352 at 7. More than 30 days have passed since Petitioner

 submitted her request. Therefore, Petitioner’s exhaustion requirement is satisfied. However, even

 if Petitioner did not exhaust her administrative remedies, this Court would waive the exhaustion

 requirement given the COVID-19 pandemic and the catastrophic health consequences it has for

 inmates with underlying health conditions. See United States v. Poulios, N. 2:09-cr-109, 2020 WL



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 1922775, at *1 (E.D. Va. April 21, 2020); United States v. Casey, No. 4:18-cr-4, 2020 WL

 2297184, at *2 (E.D. Va. May 6, 2020); Miller v. United States, 2020 WL 1814084, at *2 (E.D.

 Mich. Apr. 9, 2020); Zukerman, 2020 WL 1659880, at *3; United States v. Perez, 2020 WL

 1456422, at *3–4 (S.D.N.Y. Apr. 1, 2020); Gonzalez, 2020 WL 1536155, at *2.

 B. Compassionate Release

        The Court now turns to whether Petitioner has set forth extraordinary and compelling

 reasons to modify her sentence because of the grave risk COVID-19 poses to individuals with

 underlying health conditions. During the COVID-19 pandemic, federal courts around the country

 have found that compassionate release is justified under the circumstances. Zukerman, 2020 WL

 1659880, at *4 citing Perez, 2020 WL 1546422, at *4; United States v. Colvin, 2020 WL 1613943,

 *4 (D. Conn. Apr. 2, 2020); United States v. Rodriguez, No. 2:03-CR-00271-AB-1, 2020 WL

 1627331, at *7 (E.D. Pa. Apr. 1, 2020); United States v. Jepsen, No. 3:19-CV-00073 (VLB), 2020

 WL 1640232, at *5 (D. Conn. Apr. 1, 2020); Gonzalez, 2020 WL 1536155, at *3; United States v.

 Muniz, No. 4:09-CR-0199-1, 2020 WL 1540325, at *2 (S.D. Tex. Mar. 30, 2020); United States

 v. Campagna, No. 16 CR. 78-01 (LGS), 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020).

 Unlike the individuals in the above cases however, Petitioner’s circumstances do not warrant her

 immediate release.

        Petitioner’s BOP medical records reflect that she suffers from Type II Diabetes and

 hypothyroidism. According to the Centers for Disease Control and Prevention, individuals with

 underlying medical conditions, including individuals with diabetes, are at higher risk for severe

 illness from COVID-19, particularly if these underlying conditions are not well controlled. 4



        4
         Centers for Disease Control and Prevention, “Coronavirus Disease 2019 (COVID-19) – People
        Who      are  at    Higher    Risk    for    Severe   Illness,”   CDC.gov,     available at
        https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-

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 Petitioner takes prescribed medication through the BOP to treat her hypothyroidism. ECF No. 353

 at 10–11. As of January 2020, Petitioner was prescribed Atorvastatin which is used to control and

 lower high cholesterol. Id. Though Petitioner argues that her prescription for Atorvastatin supports

 her assertions concerning issues with high cholesterol, high blood pressure, and heart disease, a

 prescription for Atorvastatin is not always indicative of a more severe condition such as heart

 disease. 5 In any event, based on the CDC guidelines, the Court finds that Petitioner’s underlying

 medical conditions do put her at higher risk for severe illness if she contracts COVID-19.

        However, although Petitioner’s underlying medical conditions in the midst of COVID-19

 may constitute extraordinary and compelling circumstances, the § 3553(a) factors weigh against

 Petitioner’s compassionate release. See United States v. Doumas, No. 13-CR-120 (JMA), 2020

 WL 3256734, at *2 (E.D.N.Y. June 16, 2020) (noting that a court may deny a motion for

 compassionate release if the § 3553(a) factors override what would otherwise be extraordinary and

 compelling circumstances). The severity of Petitioner’s conduct for the instant offense remains the

 same. Petitioner participated in a large-scale fraudulent scheme that involved making counterfeit

 versions of cashier’s checks and postal money orders from financial institutions, and fraudulently

 securing the funds. ECF Nos. 95-97, 339. As a result of her involvement in the conspiracy,

 Petitioner was ordered to pay restitution for $1,294,034.52. ECF No. 161, 163. This is not the first

 time Petitioner violated the law. Petitioner has prior convictions for Felony Theft, Theft of

 Property, and Possession of Controlled Substances of Less than One Gram of Methamphetamine.

 ECF Nos. 339, 351. She also had prior arrests for Theft of Property and issuing worthless checks.


        risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
        ncov%2Fhcp%2Funderlying-conditions.html
        5
          Although high cholesterol may contribute to an increased risk of heart attack, stroke, or other
        heart complications, a treatment regimen for high cholesterol is often preventative and not
        necessarily indicative of a more severe condition. See Sanjai Sinha, M.D., Atorvastatin,
        DRUGS.COM (Nov. 1, 2019) https://www.drugs.com/atorvastatin.html

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 Id.

        While on pretrial release for the instant offense, Petitioner violated the conditions of her

 bond supervision by shoplifting and testing positive for methamphetamine on multiple occasions.

 ECF No. 351 at 1. Thus, Petitioner’s prior criminal conduct has been plagued by fraud, theft, and

 drugs. While Petitioner argues that these are all nonviolent offenses, these offenses have been

 continuous reflecting a great need for deterrence. See ECF No. 19.

        Petitioner’s conduct in prison is also concerning. While Petitioner has completed several

 education courses and maintained work assignments, BOP records reflect that Petitioner has been

 involved in five disciplinary incidents. ECF No. 351. These disciplinary incidents include

 disruptive conduct, possessing a non-hazardous tool on two occasions, fighting, and exchanging

 money for contraband. ECF No. 351.

        Petitioner’s record also reflects drug abuse. She has a prior conviction for possession of

 drugs and has also used drugs in violation of the conditions of her pretrial release. Id. Therefore,

 the Court finds that Petitioner will substantially benefit from the 500-hour Residential Drug Abuse

 Program in which she is currently enrolled.

        Petitioner is 50 years old. She has served about 36 months out of a 130-month sentence.

 She requests to be placed on home confinement for the remaining six years of her sentence. But

 based on Petitioner’s past conduct, including her behavior while on pretrial release and conduct in

 prison, the Court is not confident that Petitioner will follow any conditions of home confinement.

 The Court finds that Petitioner poses a high risk for recidivism, and therefore poses a danger to the

 community. Thus, upon consideration of all the § 3553(a) factors, the Court concludes that

 reducing Petitioner’s sentence is inappropriate at this time. See Doumas, 2020 WL 3256734, at *3

 (denying petitioner’s motion for compassionate release because although petitioner had diabetes,



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 the § 3553(a) factors weighed against granting compassionate release); United States v. Carter,

 No. 18 CR. 390 (PAE), 2020 WL 3051357, at *3 (S.D.N.Y. June 8, 2020)(denying petitioner’s

 motion for compassionate release where the § 3553(a) factors did not justify early release despite

 extraordinary and compelling reasons); United States v. Sears, No. 19-CR-21 (KBJ), 2020 WL

 3250717, at *2 (D.D.C. June 16, 2020) (finding that although Petitioner, who suffered from

 diabetes, hypertension, and asthma demonstrated extraordinary and compelling reasons, the §

 3553(a) factors did not justify release). The Court also declines to recommend that the BOP place

 Petitioner on home confinement.

                                           IV. CONCLUSION

        For the foregoing reasons, Petitioner’s Motion is DENIED.

        The Clerk is DIRECTED to send a copy of this Order to the Petitioner, the United States

 Attorney, the United States Probation Office, and the Federal Bureau of Prisons.

        IT IS SO ORDERED.



                                                     Raymond Digitally        signed by
                                                                     Raymond A. Jackson
                                                                     Date: 2020.06.18
 Newport News, Virginia
                                                     A.  Jackson     17:17:24 -04'00'
                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE




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